                                                         Exhibit 3


Jake Doran

From:                             Jake Doran
Sent:                             Monday, January 8, 2024 12:14 PM
To:                               Justin Winch
Subject:                          RE: Give me a call later this morning please



Hey Justin,

I just tried to give you a call. The basis is the recent receipt of the updated estimate, which doubles the alleged
amount of loss as well as including additional structural issues. We will essentially have an engineer and
adjuster come out to inspect the property and alleged damages claimed. Let me know if the property is
available January 15 or 16. Also, please give me a call on my cell whenever you have a second- 985-705-6483.

Best,
Jake

From: Justin Winch <justin.winch@winchlawfirm.com>
Sent: Monday, January 8, 2024 8:26 AM
To: Jake Doran <jdoran@bluewilliams.com>
Subject: Give me a call later this morning please

Hey Jake, what is Safepoint's basis for, and proposed parameters, for a reinspection?




Justin L. Winch, Esq.
WINCH LAW FIRM, LLC




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